 Fill in this information to identify the case:

              Curae Health, Inc.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                          Middle
 United States Bankruptcy Court f or the: _______________________             TN
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):              18-05665
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                  0
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                               12,643,875
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                   12,643,875
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................
                                                                                                                                                                                                  55,435,195.66
                                                                                                                                                                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................
                                                                                                                                                                                                  0.00
                                                                                                                                                                                                $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +     1,589,659.37
                                                                                                                                                                                                $ ________________




4.   Total liabilities...................................................................................................................................................................         57,024,855.03
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




            Case 3:18-bk-05665                                  Doc 223                 Filed 09/21/18                        Entered 09/21/18 15:47:38                                     Desc Main
 Official Form 206Sum                                                      Document
                                                            Sum m ary of Assets                 Page
                                                                                and Liabilities for     1 of 1
                                                                                                    Non-Individuals                                                                                  page 1
